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UNITED sTATEs DISTRICT coURT gygf&;®§;__`
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EASTERN DISTRICT oF cALIFoRNIA

LION RAISINS, INC., CIV-F-O3-6744 OWW DLB

Plaintiff, MEMORANDUM DECISION AND
ORDER ON DEFENDANT'S MOTION
TO DISMISS AND MOTION FOR
SUMMARY JUDGMENT [FED. R.
CIV. P. 12(b)(6) & 56].

'V'.

ROYAL & SUN ALLIANCE AND DOES 1
through 10, inclusive,

Defendants.

 

I. Introduction

Royal & Sun Alliance (“Defendant”) moves to dismiss, or in
the alternative for summary judgment against, the complaint of
Lion Raisins, Inc. (“Plaintiff") pursuant to Fed. R. Civ. P.
12(b)(6) and 56, respectively. Doc. 6, Defendant's Motion to
Dismiss and for Summary Judgment (“Defendant's Motions"), filed
December 8, 2003. Defendant alleges that Plaintiff has failed to
state a ground upon which relief can be granted and
“has sued the wrong entity.” Id. at 3.23. The critical
question underlying both motions is whether Defendant issued
worker’s compensation insurance to Plaintiff. See Doc. 10,

Plaintiff's Opposition to Defendant's Motion to Dismiss or, in

 

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the Alternative, Motion for Summary Judgment (“Plaintiff's
Opposition") at 1.20-22, filed January 12, 2004; Doc. 13,
Defendant Royal & SunAlliance USA, Inc.'s Reply Memorandum in
Support of Motion to Dismiss or, in the Alternative, Motion for
Summary Judgment (“Defendant's Reply”) at 1.3-6, filed January
16, 2004.

II. Procedural History

Plaintiff, “a large processor of raisins, with its principle
place of business located in Selma, County of Fresno,
California," sued Defendant in the Superior Court of the State of
California, County of Fresno, Central Division, for (l) breach of
contract, (2) negligence, (3) intentional misrepresentation, and
(4) negligent misrepresentation.1 Doc. 1, Exh. A, Plaintiff's
Complaint for Breach of Contract, Negligence, and Damages
(“Plaintiff's Complaint”) at 8-11, II 26-37, originally filed
October 27, 2003. Plaintiff alleges that CIBUS Insurance “is
authorized to write policies for Defendant” and that “Defendant
is a large European insurance company that bought Connecticut
Indemnity [Company] and uses it as a base for operations in the
United States.” Plaintiff's Complaint at 2, H B; see also 6.24-

25. Plaintiff claims that “Defendant was Lion's insurer for the

 

1 Defendant addresses Plaintiff's breach of contract and
negligence claims separately. Defendant addresses Plaintiff's
third and fourth causes of action (intentional misrepresentation
and negligent misrepresentation respectively) under a single
heading: “fraudulent misrepresentation." Defendant’s Motions
6.9-7.9.

 

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policy year 2000.” Plaintiff's Complaint at 6, 7 21. Plaintiff
alleges that it “[o]n or about January l, 2000 Plaintiff entered
into a contract with Defendant for Defendant to insure Plaintiff
with respect to Plaintiff's state mandated workers’ compensation
and employer's liability insurance policy.” Plaintiff's
Complaint at 3, q 9.

Defendant removed this case pursuant to 28 U.S.C. § 1441(b),
“in that it is a civil action between citizens of different
states and the amount in controversy exceeds the sum of
$75,000....” Defendant's Removal at 1, 7 2. Defendant alleges
that this removal was timely, pursuant to 28 U.S.C. § l446(b),
and that proper notice was provided, pursuant to 28 U.S.C. §
1446(d). Id. at 2.16-17; 2.26-3.2.

Defendant moves to dismiss Plaintiff's claim, pursuant to
Fed. R. Civ. P. 12(b)(6), or, in the alternate, for summary
judgment, pursuant to Fed. R. Civ. P. 56. See Defendant’s
Motions. As required under Local Rule 56-260(a), Defendant
submitted a statement of uncontested facts, supported by one
affidavit. Doc. 7. Defendant's Statement of Uncontested Facts,
filed December 8, 2003; Doc. 8, Affidavit of Linda Y. Pettigrew
in Support of Defendant's Motions (“Defendant's Affidavit”),
filed December 8, 2003.

Plaintiff filed opposition to Defendant's motions and
responded to the statement of uncontroverted facts. Plaintiff's
Opposition; Doc. ll, Plaintiff's Response to Defendant's
Statement of Uncontroverted Facts (“Plaintiff's Statement of
Facts”), filed January 12, 2004. Plaintiff also submitted a

declaration in support of its opposition. Doc. 12, Declaration

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of Sean Dunn in Support of Plaintiff's Opposition to Defendant's
Motion to Dismiss or, in the Alternative, Motion for Summary
Judgment (“Dunn's Declaration”), January 12, 2004.

Defendant replied to Plaintiff's Opposition and requested
judicial notice of Best's Insurance Reports, Property/Casualty.2
Defendant's Reply; Doc. 14, Defendant Royal & SunAlliance USA,
Inc.’s Request for Judicial Notice (“Defendant's Request for
Judicial Notice”), filed January 16, 2004. Oral arguments were

heard January 26, 2004.

III. Defendant's Statement of Undisputed Facts

As a moving party, Defendant alleges five statements of

undisputed facts:

l. RSA USA is a holding company incorporated in the State
of Delaware and has its principle place of business in

the State of North Carolina.

2. RSA USA is not an insurance company nor does it issue
insurance policies, including workers' compensation

insurance, in the United States.

 

2 Defendant requests judicial notice be taken of its Exhibit
l: Best's Insurance Reports, Property-Casualty (2002), pp. 4171-
75. See Defendant's Request for Judicial Notice at 1. The
report Defendant's actually submit is identified as “Best's
Ratings & Report as of 7/22/03.” Plaintiff also submits a
selection from this report but does not identify it as from
“Best’s.” Dunn's Declaration, Exh. l.

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3. RSA USA could not have shared a contractual
relationship with Plaintiff Lion Raisins, Inc. with
regard to the provision of workers' compensation

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4. RSA USA is not engaged in the business of handling
workers' compensation insurance claims nor engaged in

marketing of insurance products in the United [States.]

5. RSA USA has no employees.

Plaintiff disputes the five facts Defendant submitted in its
statement of uncontroverted facts. Plaintiff does not provide
particular grounds for the disputation but only refers in each
case to the general Dunn Declaration, excepting its first
paragraph.3 See Plaintiff's Statement of Facts. As a result,

there is no statement of undisputed facts.

IV. Standard of Review

A. Motion to Dismiss for Failure to State a Claim upon
which Relief Can Be Granted - Fed. R. Civ. P. 12(b)(5)

A motion to dismiss for failure to state a claim under Fed.

R. Civ. P. 12(b)(6) is disfavored and rarely granted: “[a]

 

3 Plaintiff only refers in the case of each disputed fact to
the “Declaration of Sean Dunn (Dunn Decl.), 17 2-10; Exhibits 1
through 8 to Dunn Decl.”

 

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complaint should not be dismissed unless it appears beyond doubt
that plaintiff can prove no set of facts in support of his claim
which would entitle him to relief.” Van Buskirk v. CNN, Inc.,
284 F.3d 977, 980 (9th Cir. 2002)(citations omitted); see also
Gilligan v. Jamco Dev. Corp., 108 F.3d 246, 249 (9th Cir.
1997)(stating that the issue is not whether plaintiff will
ultimately prevail, but whether claimant is entitled to offer
evidence to support the claim). In deciding whether to grant a
motion to dismiss, the court “take[s] all of the allegations of
material fact stated in the complaint as true and construe them
in the light most favorable to the nonmoving party.” Rodriguez
v. Panayiotou, 314 F.3d 979, 983 (9th Cir. 2002).

“The court need not, however, accept as true allegations
that contradict matters properly subject to judicial notice or by
exhibit. Nor is the court required to accept as true allegations
that are merely conclusory, unwarranted deductions of fact, or
unreasonable inferences.” Sprewell v. Golden State Warriors, 266
F.3d 979, 988 (9th Cir. 2001) (citations omitted). For example,
matters of public record may be consideredl including pleadings,
orders and other papers filed with the court or records of
administrative bodies, see Mack v. South Bay Beer Distrib., 798
F.2d 1279, 1282 (9th Cir. 1986), while conclusions of law,
conclusory allegations, unreasonable inferences, or unwarranted
deductions of fact need not be accepted. See Western Mining
Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981); see also
Branch v. Tunnell, 14 F.3d 449, 453 (9th Cir. 1994) (“[A]
document is not ‘outside’ the complaint if the complaint

specifically refers to the document and if its authenticity is

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not questioned.”). Allegations in the complaint may be
disregarded if contradicted by facts established by exhibits
attached to the complaint. See Durning v. First Boston Corp.,

815 F.2d 1265. 1267 (9th Cir. 1987).

B. Motion for Summary Judqement Pursuant to Fed. R. Civ.
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Summary judgment is warranted only “if the pleadings,
depositions, answers to interrogatories, and admissions on file,
together with the affidavits, if any, show that there is no
genuine issue as to any material fact." Fed. R. Civ. P. 56(c);
California v. Campbell, 138 F.3d 772, 780 (9th Cir. 1998).
Therefore, to defeat a motion for summary judgment, the non-
moving party must show (l) that a genuine factual issue exists
and (2) that this factual issue is material. Id. A genuine
issue of fact exists when the non-moving party produces evidence
on which a reasonable trier of fact could find in its favor
viewing the record as a whole in light of the evidentiary burden
the law places on that party. See Triton Energy Corp. v. Square
D Co., 68 F.3d 1216, 1221 (9th Cir. 1995); see also Anderson v.
Liberty Lobby, Inc., 477 U.S. 242, 252-56 (1986). The evidence
must be viewed in a light most favorable to the nonmoving party.
Indiana Lumbermens Mut. Ins. Co. v. West Oregon Wbod Products,
Inc., 268 F.3d 639, 644 (9th Cir. 2001), amended by 2001 WL
1490998 (9th Cir. 2001). Facts are “material" if they “might
affect the outcome of the suit under the governing law.”

Campbell, 138 F.3d at 782 (quoting Liberty Lobby, Inc., 477 U.S.

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at 248).
The moving party bears the initial burden of demonstrating

the absence of a genuine issue of fact. Devereaux v. Abbey, 263
F.3d 1070, 1076 (9th Cir. 2001). If the moving party fails to
meet this burden, “the nonmoving party has no obligation to
produce anything, even if the nonmoving party would have the
ultimate burden of persuasion at trial.” Nissan Fire & Marine
Ins. Co., Ltd. v. Fritz Cos., Inc., 210 F.3d 1099, 1102-03 (9th~
Cir. 2000). However, if the nonmoving party has the burden of
proof at trial, the moving party must only show “that there is an
absence of evidence to support the nonmoving party's case.”
Celotsx Corp. V. Catrett, 477 U.S. 317, 325 (1986). Once the
moving party has met its burden of proof, the non-moving party
must produce evidence on which a reasonable trier of fact could
find in its favor viewing the record as a whole in light of the
evidentiary burden the law places on that party. Triton Energy
Corp., 68 F.3d at 1221. The nonmoving party cannot simply rest
on its allegations without any significant probative evidence
tending to support the complaint. Devereaux, 263 F.3d at 1076.

[T]he plain language of Rule 56(c) mandates the entry

of summary judgment, after adequate time for

discovery and upon motion, against a party who fails

to make a showing sufficient to establish the

existence of an element essential to the party's

case, and on which that party will bear the burden of

proof at trial. In such a situation, there can be

“no genuine issue as to any material fact,” since a

complete failure of proof concerning an essential

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element of the nonmoving party's case necessarily
renders all other facts immaterial.
Celotex Corp., 477 U.S. at 322-23.

“In order to show that a genuine issue of material fact
exists, the nonmoving party must introduce some ‘significant
probative evidence tending to support the complaint.'” Rivera v.
AMTRAK, 331 F.3d 1074, 1078 (9th cir. 2003) (quoting Liberty
Lobby, Inc., 477 U.S. at 249). If the moving party can meet his
burden of production, the non-moving party “must produce evidence
in response....[H]e cannot defeat summary judgment with
allegations in the complaint, or with unsupported conjecture or
conclusory statements.” Hernandez v. Spacelabs Med., Inc., 343
F.3d 1107, 1112 (9th Cir. 2003). “Conclusory allegations
unsupported by factual data cannot defeat summary judgment.”
Rivera, 331 F.3d at 1078 (citing Arpin v. Santa Clara Valley
Transp. Agency, 261 F.3d 912, 922 (9th Cir. 2001)).

The more implausible the claim or defense asserted by the
nonmoving party. the more persuasive its evidence must be to
avoid summary judgment. See U.S. ex rel. Anderson v. N. Telecom,
Inc., 52 F.3d 810, 815 (9th Cir. 1996). Nevertheless, “[t]he
evidence of the non-movant is to be believed, and all justifiable
inferences are to be drawn in its favor.” Liberty Lobby, Inc.,
477 U.S. at 255. A court's role on summary judgment is not to
weigh evidence or resolve issues; rather, it is to find genuine

factual issues. See Abdul-Jabbar v. G.MI Corp., 85 F.3d 407, 410
(9th Cir. 1996).

V. Legal Analysis

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A. RSA USA Inc.

Central to the dispute between the parties is the
relationship between Defendant, the “1arger umbrella group” of
which Defendant is allegedly a part, and Defendant's “affiliated
companies." of which Connecticut Indemnity Company is allegedly
one. Defendant's Reply at 4.7-11. Defendant identifies itself
as Royal & Sun Alliance USA, Inc. (“RSA USA”). Defendant's
Affidavit at 1, 7 1. Defendant asserts that it is a “holding
company” incorporated in the State of Delaware, has its principle
place of business in the State of North Carolina, and is not
engaged in the business of handling workers' compensation
insurance claims nor engaged in marketing of insurance products
in the United [States.] Id. at 7 4. Defendant argues that a
“holding company,” of which it claims to be one, and its
“affiliated companies,” of which Connecticut Insurance,
Plaintiff's insurer is allegedly one, are distinct. Defendant's
Reply at 4.7-11. Defendant claims that as “the holding company
and the affiliated companies are not one in the same,”
Plaintiff's err in “attempt[ing] to meld the identities of
Defendant ..., the holding company, with that of affiliated
companies." Id. Defendant alleges that it is not an insurance
company nor does it issue insurance policies, including workers'
compensation insurance in the United States. Defendant's
Affidavit at 77 2, 3. As a result, Defendant claims that it
could not have entered into a contractual relationship with

Plaintiff Lion Raisins, Inc. arising from workers' compensation

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coverage and cannot be held liable for breach of contract,
negligence, or negligent or intentional misrepresentation,
Defendant's Motions at 4.2-7.9.

Plaintiff denies all of Defendant's statements of
uncontroverted facts. See Plaintiff's Statement of Facts.
Plaintiff submits an exhibit that identifies Royal and Sun
Alliance Insurance Group PLC as the “parent” of Royal and Sun
Alliance USA. Dunn Declaration at Exh. 6. Plaintiff offers
another exhibit to show the existence of Royal and Sun Alliance
USA Insurance Pool, of which Connecticut Indemnity Co. is a
member. Id., Exh. l; see also Defendant's Request for Judicial
Notice, Exh. l, at 2. As Defendant notes, Plaintiff appears to
believe that Defendant and Royal and Sun Alliance Insurance Group
PLC and/or Royal and Sun Alliance USA Insurance Pool are the same
companies. See Defendant's Reply at 2.1-7, 4.7-11; Plaintiff's
Opposition at 2; Dunn's Declaration at 77 2-10. Plaintiff
alleges that “Defendant is a large European insurance company
that bought Connecticut Indemnity [Company] and uses it as a base
for operations in the United States.”4 Plaintiff's Complaint at
2, 7 8; see also 8, 77 24-25. Plaintiff also alleges that CIBUS
Insurance Services, Inc. “is authorized to write policies for
Defendant, and it wrote the policy at issue in this complaint.”

Id. at 2, 7 8. In support of this contention, Plaintiffs submit

 

‘ At the time Plaintiff filed its complaint. it stated that
“it may very well be that the Connecticut Indemnity Company and
Cibus Insurance Services will be substituted in by name as Doe
Defendants but it is unknown at this time." Plaintiff's
Complaint at 2, 7 8.

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an inventory of workers' compensation claims from Lion Raisin
employees that was allegedly sent to it, and to CIBUS, by
Defendant. Dunn’s Declaration at 3, 7 9. Plaintiff argues that
this inventory “clearly shows that Royal & Sun was involved in
all worker's compensation claims with respect to Lion Raisins,
Inc.” Plaintiff's Opposition at 2.9-10.

According to Plaintiff, “Royal & Sun Alliance provided the
worker's compensation coverage [for Lion Raisins], through
Connecticut Indemnity and CIBUS Insurance Services.” Dunn’s
Declaration at 3-4, 7 9. Plaintiff claims that “Defendant was
Lion's insurer for the policy year 2000.” Plaintiff's Complaint
at 6, 7 21. Plaintiff alleges that “[o]n or about January l,
2000 Plaintiff entered into a contract with Defendant for
Defendant to insure Plaintiff with respect to Plaintiff's state
mandated workers' compensation and employer's liability insurance
policy.” Plaintiff's Complaint at 3, 7 9. Defendants failure to
properly investigate and report its findings causes Plaintiff's
WCIRB premiums to be higher than they otherwise would have been.

Defendant alleges that Plaintiff's characterizations blur
two crucial distinctions. First, Defendant claims that Plaintiff
is “mixing and meshing the identities of Defendant and the larger
umbrella group of which Defendant is a part.” Defendant's Reply
at 2.2-5. As Defendant claims, it and “and this group are [not]
one in the same” and that it maintains “separate identity." Id.
2.1-7. Second, Defendant claims Plaintiff is attempting “to meld
the identities of Defendant (‘RSA USA Inc.'), the holding

company, with that of affiliated companies." Reply at 4.7-11.

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1. RSA USA, Inc. and its Alleqed “Larger Umbrella

Group”

First, Defendant alleges that “RSA USA, Inc., is a separate
entity among [a] number [of] companies that fall under this
umbrella group trade name.” Defendant's Reply at 4, n.1; see
also Defendant's Request for Judicial Notice, Exh. l, at 2. It
appears that “this” umbrella group is either “Royal & Sun
Alliance Insurance Group plc”' or “Royal & SunAlliance USA
Insurance Pool,” but Defendant does not clearly state of which
“umbrella group” it is a part. Id. The document to which
Defendant points, however, in making this claim does not
distinguish between RSA USA, Inc., the Royal & SunAlliance USA
Insurance Pool, and Royal & Sun Alliance Insurance Group PLC;
that is, RSA USA, Inc. is not listed as a separate “Company”
under the Royal & Sun Alliance USA Insurance Pool or Royal & Sun
Alliance Insurance Group PLC. Defendant's Request for Judicial
Notice, Exh. 1, at 2. The only reference to Royal and Sun
Alliance USA in the insurance report appears in the title “Royal
and Sun Alliance USA Insurance Pool.” Id. As the Defendant
itself says, it “is not one of the listed insurance entities as a
rated company in this document. No mention of Defendant is made
at all.” Defendant's Reply at 4.22-24. It is not clear in what
way RSA USA Inc. is independent from Royal & Sun Alliance USA
Insurance Pool or Royal & Sun Alliance Insurance Group PLC.
Although Defendant relies upon the allegedly distinct status of
RSA USA Inc. in order to argue that it could not have issued

Plaintiff's insurance, Defendant has not submitted a certificate

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or other evidence from the jurisdiction where it is incorporated;
Plaintiff does not submit a certified copy of any insurance
license showing Defendant is an insurer licensed to conduct

workers comprehensive insurance business in California.

2. RSA USA, Inc. as a “Holdinq Company" and Alleqed

Insurer

Second, Defendant does not respond to Plaintiff's exhibits
that question the distinction Defendant alleges between itself
(as a holding company) and its affiliated companies. Defendant
claims that Plaintiff's submissions “do not demonstrate that
Defendant RSA USA[,] Inc. issued policies to Plaintiff nor has
employees ... [or] ‘provides, or provided workers' compensation
insurance.'” Defendant's Reply at 5.9-14. Defendant does not,
though, explain why its name is associated with Plaintiff's
worker's compensation reports or why it appears to have approved
health coverage and a settlement amount for a Lion Raisins'
employee. See Dunn's Declaration, Exh. 3, 4, & 8. For example,
Plaintiff offers two letters from “Jennifer Schaffer, Sr. Claims
Examiner,” on “Royal & SunAlliance” letterhead, concerning the
medical treatment and benefits for a single employee of Lion
Raisins: Trinidad Huerta. Dunn Declaration, Exh 3, 4. Plaintiff
claims that these letters demonstrate that Royal & Sun Alliance,
which operates in California, sold worker's compensation
insurance to Lion Raisins. Id. at 3, 7 7. At the least it
defeats summary judgment because it suggest RSA USA is

participating in the insurance business.

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Plaintiff submits a declaration which states that
“Plaintiff's insurance was issued through Connecticut Indemnity.”
Dunn's Declaration at 2, 77 2, 3; Exh. 2; see also Defendant's
Reply at 2.12-26; 5.1-4. The Connecticut Indemnity Company’s
insurance policy with Lion Raisin (# CF310027100) concerned
workers' compensation for motor carriers of property. See Dunn's
Declaration at Exh. 2. Plaintiff claims “Plaintiff’s insurance
was issued through Connecticut Indemnity an insurance company
that is a wholly owned entity of Defendant, Royal & Sun
Alliance.” Dunn's Declaration at 2, 7 2. Plaintiff supports
this contention with text pulled from Best’s Insurance Reports-
Property/Casualty (2003), the same source which Defendant asks
this court to judicially notice. While Plaintiff claims Best
shows that the Defendant is indistinct from Royal & Sun Alliance
Insurance Pool, Defendant claims the same document shows that RSA
USA, Inc. is an entity distinct from Royal & Sun Alliance
Insurance Pool or Royal & Sun Alliance Insurance Group PLC.

Plaintiff does not submit evidence in an effort to link
CIBUS to Defendant, as it attempts to do elsewhere with
Connecticut and Defendant. Even with this omission, however,
substantial factual questions remain about Defendant's
relationship to the other companies in the “insurance pool” and
its own role in administering Plaintiff's workers comprehensive

insurance policies.

B. Defendant's Motions

Defendant premises its 12(b)(6) motion on the claims

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“Plaintiff has sued the wrong entity.” Defendant's Motion at
3.22-23; see also 4.9-10; 5.16-17; 6.18-20. Defendants provide
the affidavit of Linda Y. Pettigrew and the Best Insurance Report
to support its contention.

A motion to dismiss for failure to state a claim under Fed.
R. Civ. P. 12(b)(6) is not granted “unless it appears beyond
doubt that plaintiff can prove no set of facts in support of his
claim which would entitle him to relief.” Summary judgment is
warranted only “if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the
affidavits, if any, show that there is no genuine issue as to any
material fact." Fed. R. Civ. P. 56(c). A 12(b)(6) motion
accepts the well-pleaded allegations of the complaint as true;
i.e., that Defendant issued a workers compensation policy of
insurance on which recovery is sought. It does not go beyond the
pleadings. Only judicially noticeable facts that establish as a
matter of law this Defendant does no workers compensation
insurance business could defeat a 12(b)(6) motion.

Despite the ambiguities surrounding the relationship of
Defendant to the other companies discussed, the burden falls upon
the Plaintiff to identify the party that properly owes it the
duty. Neither party disputes that Connecticut Indemnity Company
issued Plaintiff its insurance policy. What is unclear is
whether Defendant played a role in issuing that issuance policy
and, if so, what that role was. Even if Defendant had a role,
having such a role would not necessarily establish a duty between
Defendant and Plaintiff. Connecticut Indemnity Company could use

third parties or agents, for example, to administer its policy.

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Plaintiff's production of letterhead does not in itself establish
that Defendant acted as Plaintiff's insurer. Plaintiff has not
established that there exists any relationship between Defendant
and itself. Defendant's motion to dismiss is GRANTED, but
Plaintiff is given twenty days (20) leave to AMEND its complaint

from the time this decision is filed.

VI. Conclusion

Defendant's Motion to Dismiss Pursuant to Fed. R. Civ. P.

12(b)(6) is GRANTED;

Plaintiff is given twenty days (20) leave to AMEND its

complaint from the time this decision is filed;

Defendant's Motion for Summary Judgment Pursuant to Fed. R.

Civ. P. 56 is MOOT.

SO ORDERED.

DATED: January 26, 2004.

 

Oliver W. Wanger

UNITED STATES DISTRICT JUDGE

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United States District Court
for the
Eastern District of California
February 12, 2004

* * CERTIFICATE OF SERVICE * *

1:03-cv-06744

Lion Raisins Inc
v.

Royal and Sun

 

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That On February 12, 2004, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk's office, or, pursuant to prior
authorization by counsel, via facsimile.

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Spencer Y Kook

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Jack L. Wagner, Clerk

 

